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                    IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


HOWARD COHAN,
                                                  Case No. 2:19-cv-10792
       Plaintiff,
                                                  Hon.
v.

VI-LCP NOVI OWNER, LLC,                           Magistrate Judge

       Defendant.
                                              /

 PLAINTIFF’S COMPLAINT FOR DECLARATORY AND INJUNCTIVE
                         RELIEF

       Plaintiff Howard Cohan, through his undersigned counsel, states the

following in support of his Complaint for Declaratory and Injunctive Relief to

remedy discrimination by VI-LCP Novi Owner, LLC based on Plaintiff’s disability

in violation of Title III of the Americans with Disabilities Act of 1990, 42 U.S.C.

§§ 12181 et seq. (“ADA”), and its implementing regulation, 28 C.F.R. Part 36:

                            JURISDICTION AND VENUE

       1.     This Court has jurisdiction over this action pursuant to 42 U.S.C. §

2000a-3(a), 28 U.S.C. § 1331, and 28 U.S.C. § 1343.

       2.     Venue is appropriate in this district under 28 U.S.C. § 1391 because

the acts of discrimination occurred in this district, and the property that is the

subject of this action is in this district.



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                                       PARTIES

      3.     Plaintiff is a resident of Palm Beach County, Florida.

      4.     Defendant is a limited liability company with its registered office

located at 421 W Ionia St, Lansing, MI 48933.

      5.     Upon information and belief, Defendant owns or operates “Sheraton

Novi” whose locations qualify as a “Facility” as defined in 28 C.F.R. § 36.104.

                            FACTUAL ALLEGATIONS

      6.     Plaintiff incorporates the above paragraphs by reference.

      7.     Plaintiff is an individual with numerous disabilities, including severe

spinal stenosis of the lumbar spine with spondylolisthesis and right leg pain, severe

spinal stenosis of the cervical spine with nerve root compromise on the right side, a

non-union fracture of the left acromion, a labral tear of the left shoulder, a full

thickness right rotor cuff tear, a right knee medial meniscal tear, a repaired ACL

and bilateral meniscal tear of the left knee and severe basal joint arthritis of the left

thumb.

      8.     At the time of Plaintiff’s initial visit to Sheraton Novi (and prior to

instituting this action), Plaintiff suffered from a qualified disability under the 28

C.F.R. 36.105.

      9.     Plaintiff’s condition is degenerative and requires occasional use of

mobility aids to assist his movement.



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      10.    Plaintiff regularly travels to Michigan to visit friends and shop and

has plans to return to Novi on June 13, 2019.

      11.    Plaintiff encountered barriers to access at the Facility which denied

him full and equal access and enjoyment of the services, goods and amenities.

      12.    Plaintiff is a customer of Defendant and would return to the Facility in

June if Defendant modifies the Facility and its policies and practices to

accommodate individuals who have physical disabilities, but he is deterred from

returning due to the barriers and discriminatory effects of Defendant’s policies and

procedures at the Facility.

      13.    Due to Plaintiff’s frequent travels, he also acts as a tester by

inspecting Facilities for accessibility to advance the purpose of the ADA, the civil

rights of disabled individuals, and to be certain that he can enjoy the same options

and privileges to patronize places of public accommodation as non-disabled

individuals without worrying about accessibility issues.

      14.    Plaintiff returns to every Facility after being notified of remediation of

the discriminatory conditions to verify compliance with the ADA and regularly

monitors the status of remediation.

                      COUNT I
 REQUEST FOR DECLARATORY JUDGMENT UNDER 28 U.S.C. § 2201

      15.    Plaintiff incorporates the above paragraphs by reference.




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       16.     This Court is empowered to issue a declaratory judgment regarding:

(1) Defendant’s violation of 42 U.S.C. § 12182; (2) Defendant’s duty to comply

with the provisions of 42 U.S.C. § 12181 et al; (3) Defendant’s duty to remove

architectural barriers at the Facility; and (4) Plaintiff’s right to be free from

discrimination due to his disability. 28 U.S.C. § 2201.

       17.     Plaintiff seeks an order declaring that he was discriminated against on

the basis of his disability.

                        COUNT II
  REQUEST FOR INJUNCTIVE RELIEF UNDER 42 U.S.C. § 2000a–3(a)

       18.     Plaintiff incorporates the above paragraphs by reference.

       19.     Sheraton Novi is a place of public accommodation covered by Title

III of the ADA because it is operated by a private entity, its operations affect

commerce, and it is a hotel. 42 U.S.C. § 12181(7); see 28 C.F.R. § 36.104.

       20.     Defendant is a public accommodation covered by Title III of the ADA

because it owns, leases (or leases to), or operates a place of public accommodation.

See 42 U.S.C. §§ 12181(7), 12182(a); 28 C.F.R. § 36.104.

       21.     Architectural barriers exist which denied Plaintiff full and equal

access to the goods and services Defendant offers to non-disabled individuals.

       22.     Plaintiff personally encountered architectural barriers on March 21,

2018, at the Facility located at 21111 Haggerty Rd, Novi, Michigan 48375:

             a. Restroom Near Ballrooms:

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             i. Providing a gate or door with a continuous opening pressure of

                greater than 5 lbs. exceeding the limits for a person with a

                disability in violation of 2010 ADAAG §§404, 404.1, 404.2,

                404.2.9 and 309.4.

             ii. Failing to provide the proper insulation or protection for

                plumbing or other sharp or abrasive objects under a sink or

                countertop in violation of 2010 ADAAG §§606 and 606.5.

            iii. Failing to provide a urinal designed for a person with a

                disability where the horizontal projection of the urinal is not at

                a minimum of 13.5 inches in violation of 2010 ADAAG §§605

                and 605.2.

            iv. Failing to provide the proper spacing between a grab bar and an

                object projecting out of the wall in violation of 2010 ADAAG

                §§609, 609.1 and 609.3.

             v. Providing grab bars of improper horizontal length or spacing as

                required along the rear or side wall in violation of 2010

                ADAAG §§604, 604.5, 604.5.1 and 604.5.2.

            vi. Failing to provide toilet paper dispensers in the proper position

                in front of the water closet or at the correct height above the




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                finished floor in violation of 2010 ADAAG §§604, 604.7 and

                309.4.

       b. Restrooms Near Ballrooms – Ambulatory Stall:

             i. Failing to provide the proper spacing between a grab bar and an

                object projecting out of the wall in violation of 2010 ADAAG

                §§609, 609.1 and 609.3.

             ii. Failing to provide toilet paper dispensers in the proper position

                in front of the water closet or at the correct height above the

                finished floor in violation of 2010 ADAAG §§604, 604.7 and

                309.4.

            iii. Failing to provide a coat hook within the proper reach ranges

                for a person with a disability in violation of 2010 ADAAG

                §§603, 603.4 and 308.

       c. Lobby Area Restroom:

             i. Providing a gate or door with a continuous opening pressure of

                greater than 5 lbs. exceeding the limits for a person with a

                disability in violation of 2010 ADAAG §§404, 404.1, 404.2,

                404.2.9 and 309.4.

             ii. Providing a swinging door or gate with improper maneuvering

                clearance(s) due to a wall or some other obstruction that does



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                not comply with the standards set forth in 2010 ADAAG

                §§404, 404.1, 404.2, 404.2.3, 404.2.4 and 404.2.4.1.

            iii. Failing to provide a urinal designed for a person with a

                disability where the horizontal projection of the urinal is not at

                a minimum of 13.5 inches in violation of 2010 ADAAG §§605

                and 605.2.

            iv. Failing to provide toilet paper dispensers in the proper position

                in front of the water closet or at the correct height above the

                finished floor in violation of 2010 ADAAG §§604, 604.7 and

                309.4.

       d. Lobby Restroom – Ambulatory Stall:

             i. Failing to provide toilet paper dispensers in the proper position

                in front of the water closet or at the correct height above the

                finished floor in violation of 2010 ADAAG §§604, 604.7 and

                309.4.

       e. Bar & Restaurant Area:

             i. Providing counter heights exceeding 36 inches making it

                impossible to service a person with a disability in violation of

                2010 ADAAG §§904, 904.4, 904.4.1, 904.4.2, 305 and 306.




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             ii. Failing to provide accessible seating for persons with a

                disability in violation of 2010 ADAAG §§902, 902.1, 902.2,

                902.3, 305, 306 or §4.32.4 of the 1991 ADA Standards.

            iii. Failing to provide seating for persons with a disability that has

                the correct clear floor space for forward approach in violation

                of 2010 ADAAG §§902, 902.2, 305 and 306.

       f. Floor 2 Restrooms near Meeting Rooms:

             i. Providing a gate or door with a continuous opening pressure of

                greater than 5 lbs. exceeding the limits for a person with a

                disability in violation of 2010 ADAAG §§404, 404.1, 404.2,

                404.2.9 and 309.4.

             ii. Providing a swinging door or gate with improper maneuvering

                clearance(s) due to a wall or some other obstruction that does

                not comply with the standards set forth in 2010 ADAAG

                §§404, 404.1, 404.2, 404.2.3, 404.2.4 and 404.2.4.1.

            iii. Providing sinks or countertops that are greater than the 34 inch

                maximum allowed above the finished floor or ground in

                violation of 2010 ADAAG §§606 and 606.3.




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            iv. Failing to provide the proper insulation or protection for

                plumbing or other sharp or abrasive objects under a sink or

                countertop in violation of 2010 ADAAG §§606 and 606.5.

             v. Failing to provide a coat hook within the proper reach ranges

                for a person with a disability in violation of 2010 ADAAG

                §§603, 603.4 and 308.

            vi. Failing to provide toilet paper dispensers in the proper position

                in front of the water closet or at the correct height above the

                finished floor in violation of 2010 ADAAG §§604, 604.7 and

                309.4.

           vii. Failing to provide toilet paper dispensers in the proper position

                in front of the water closet or at the correct height above the

                finished floor in violation of 2010 ADAAG §§604, 604.7 and

                309.4.

       g. Passenger Drop Off:

             i. Failing to provide a passenger loading zone with an access aisle

                marked with striping in violation of 2010 ADAAG §§209,

                209.1, 209.4, 503, 503.1, 503.3 and 503.3.3.




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      23.    These barriers cause Plaintiff difficulty in safely using each element

of the Facility, requiring extra care due to concerns for safety and a fear of

aggravating his injuries.

      24.    Defendant has failed to remove some or all of the barriers and

violations at the Facility.

      25.    Defendant’s failure to remove these architectural barriers denies

Plaintiff full and equal access to the Facility in violation of 42 U.S.C. §

12182(b)(2)(A)(iv).

      26.    Plaintiff believes that Defendant similar barriers are present

      27.    Defendant’s failure to modify its policies, practices, or procedures to

train its staff to identify architectural barriers and reasonably modify its services

creates an environment where individuals with disabilities are not provided goods

and services in the most integrated setting possible is discriminatory. 42 U.S.C. §§

12182(a), 12182(b)(2)(A)(iv), and 28 C.F.R. § 36.302.

      28.    Defendant has discriminated and continues to discriminate against

Plaintiff (and others who are similarly situated) by denying access to full and equal

enjoyment of goods, services, facilities, privileges, advantages, or accommodations

located at the Facility due to the barriers and other violations listed in this

Complaint.




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       29.    It would be readily achievable for Defendant to remove all of the

barriers at the Facility.

       30.    Failing to remove barriers to access where it is readily achievable is

discrimination against individuals with disabilities. 42 U.S.C. §§ 12182(a),

12182(b)(2)(A)(iv), and 28 C.F.R. § 36.304.

                               RELIEF REQUESTED

WHEREFORE, Plaintiff respectfully requests that this Court:

       A.     declare that the Facility identified in this Complaint is in violation of

the ADA;

       B.     declare that the Facility identified in this Complaint is in violation of

the ADAAG;

       C.     enter an Order requiring Defendant make the Facility accessible to

and usable by individuals with disabilities to the full extent required by Title III of

the ADA;

       D.     enter an Order directing Defendant to evaluate and neutralize its

policies, practices, and procedures towards persons with disabilities;

       E.     award Plaintiff attorney fees, costs (including, but not limited to court

costs and expert fees) and other expenses of this litigation pursuant to 42 U.S.C. §

12205; and

       F.     grant any other such relief as the Court deems just and proper.



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                                   Respectfully submitted,

                                   BLACKMORE LAW PLC

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Dated: March 15, 2019




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